Case 2:90-cv-00520-KJM-DB Document 6528-1 Filed 03/25/20 Page 1 of 23




      EXHIBIT                                           A
     Case 2:90-cv-00520-KJM-DB Document 6528-1 Filed 03/25/20 Page 2 of 23




                                      D-West Low Dorm Shower Area




Armstrong v. Newsom (94-cv-2307-CW)                                    CDCR 182
October 2019 CIM Tour
     Case 2:90-cv-00520-KJM-DB Document 6528-1 Filed 03/25/20 Page 3 of 23




                                     Facility D




Armstrong v. Brown (94-cv-2307-CW)                                     CDCR 78
March 2019 CIM Tour
     Case 2:90-cv-00520-KJM-DB Document 6528-1 Filed 03/25/20 Page 4 of 23




                                     Facility D




Armstrong v. Brown (94-cv-2307-CW)                                     CDCR 79
March 2019 CIM Tour
     Case 2:90-cv-00520-KJM-DB Document 6528-1 Filed 03/25/20 Page 5 of 23




                                     Facility D




Armstrong v. Brown (94-cv-2307-CW)                                     CDCR 80
March 2019 CIM Tour
     Case 2:90-cv-00520-KJM-DB Document 6528-1 Filed 03/25/20 Page 6 of 23




                                     Facility D




Armstrong v. Brown (94-cv-2307-CW)                                     CDCR 81
March 2019 CIM Tour
     Case 2:90-cv-00520-KJM-DB Document 6528-1 Filed 03/25/20 Page 7 of 23




                                      D-Elm Bed Area




Armstrong v. Newsom (94-cv-2307-CW)                                    CDCR 223
October 2019 CIM Tour
     Case 2:90-cv-00520-KJM-DB Document 6528-1 Filed 03/25/20 Page 8 of 23




                                      D-Elm Bed Area




Armstrong v. Newsom (94-cv-2307-CW)                                    CDCR 224
October 2019 CIM Tour
     Case 2:90-cv-00520-KJM-DB Document 6528-1 Filed 03/25/20 Page 9 of 23




                                      D-Elm Bed Area




Armstrong v. Newsom (94-cv-2307-CW)                                    CDCR 225
October 2019 CIM Tour
Case 2:90-cv-00520-KJM-DB Document 6528-1 Filed 03/25/20 Page 10 of 23
    Case 2:90-cv-00520-KJM-DB Document 6528-1 Filed 03/25/20 Page 11 of 23




                                     Facility A




Armstrong v. Brown (94-cv-2307-CW)                                    CDCR 104
March 2019 CIM Tour
    Case 2:90-cv-00520-KJM-DB Document 6528-1 Filed 03/25/20 Page 12 of 23




                                     Facility A




Armstrong v. Brown (94-cv-2307-CW)                                    CDCR 106
March 2019 CIM Tour
  Case 2:90-cv-00520-KJM-DB Document 6528-1 Filed 03/25/20 Page 13 of 23


 1   DONALD SPECTER – 083925                 MICHAEL W. BIEN – 096891
     STEVEN FAMA – 099641                    ERNEST GALVAN – 196065
 2   ALISON HARDY – 135966                   LISA ELLS – 243657
     SARA NORMAN – 189536                    JESSICA WINTER – 294237
 3   RITA LOMIO – 254501                     MARC J. SHINN-KRANTZ – 312968
     MARGOT MENDELSON – 268583               CARA E. TRAPANI – 313411
 4   PRISON LAW OFFICE                       ROSEN BIEN
     1917 Fifth Street                       GALVAN & GRUNFELD LLP
 5   Berkeley, California 94710-1916         101 Mission Street, Sixth Floor
     Telephone: (510) 280-2621               San Francisco, California 94105-1738
 6                                           Telephone: (415) 433-6830
 7
 8 Attorneys for Plaintiffs
 9                     UNITED STATES DISTRICT COURTS
10                     EASTERN DISTRICT OF CALIFORNIA
                    AND NORTHERN DISTRICT OF CALIFORNIA
11
           UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
12          PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE
13 RALPH COLEMAN, et al.,                     Case No. 2:90-CV-00520-KJM-DB
14               Plaintiffs,                  THREE JUDGE COURT
15         v.
16 GAVIN NEWSOM, et al.,
17               Defendants.
18 MARCIANO PLATA, et al.,                    Case No. C01-1351 JST

19               Plaintiffs,                  THREE JUDGE COURT

20         v.
                                              DECLARATION OF MEGAN LYNCH
21 GAVIN NEWSOM,                              IN SUPPORT OF PLAINTIFFS’
                                              EMERGENCY MOTION
22               Defendants.
                                               EXHIBIT A
23
24
25
26
27
28

           DECLARATION OF MEGAN LYNCH IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION
    Case 2:90-cv-00520-KJM-DB Document 6528-1 Filed 03/25/20 Page 14 of 23




                                     Facility A




Armstrong v. Brown (94-cv-2307-CW)                                    CDCR 107
March 2019 CIM Tour
    Case 2:90-cv-00520-KJM-DB Document 6528-1 Filed 03/25/20 Page 15 of 23




                                     Facility A




Armstrong v. Brown (94-cv-2307-CW)                                    CDCR 108
March 2019 CIM Tour
    Case 2:90-cv-00520-KJM-DB Document 6528-1 Filed 03/25/20 Page 16 of 23




                                     Facility A




Armstrong v. Brown (94-cv-2307-CW)                                    CDCR 109
March 2019 CIM Tour
    Case 2:90-cv-00520-KJM-DB Document 6528-1 Filed 03/25/20 Page 17 of 23




                                     Facility A




Armstrong v. Brown (94-cv-2307-CW)                                    CDCR 110
March 2019 CIM Tour
    Case 2:90-cv-00520-KJM-DB Document 6528-1 Filed 03/25/20 Page 18 of 23




                                      A-Joshua Lockers and Beds




Armstrong v. Newsom (94-cv-2307-CW)                                    CDCR 25
October 2019 CIM Tour
Case 2:90-cv-00520-KJM-DB Document 6528-1 Filed 03/25/20 Page 19 of 23
    Case 2:90-cv-00520-KJM-DB Document 6528-1 Filed 03/25/20 Page 20 of 23




                                      A-Borrego Locker




Armstrong v. Newsom (94-cv-2307-CW)                                    CDCR 56
October 2019 CIM Tour
    Case 2:90-cv-00520-KJM-DB Document 6528-1 Filed 03/25/20 Page 21 of 23




                                      D-Cedar Restroom




Armstrong v. Newsom (94-cv-2307-CW)                                   CDCR 136
October 2019 CIM Tour
    Case 2:90-cv-00520-KJM-DB Document 6528-1 Filed 03/25/20 Page 22 of 23




                                      D-Cedar Restroom Sinks




Armstrong v. Newsom (94-cv-2307-CW)                                   CDCR 139
October 2019 CIM Tour
Case 2:90-cv-00520-KJM-DB Document 6528-1 Filed 03/25/20 Page 23 of 23
